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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




MELISSA DRAKE;
MADELYN DEJUSTO; and
DOUGLAS A. SPRINGSTEAD,

              Plaintiffs,
                                                  Case No. 1:10cv185
v.
                                                  Hon. Robert J. Jonker
BRIANNA SCOTT,

           Defendant.
____________________________/


            ORDER SETTING RULE 16 SCHEDULING CONFERENCE

       IT IS HEREBY ORDERED:

       1.     Rule 16 Scheduling Conference: A scheduling conference under Fed. R. Civ.

P. 16 is scheduled for May 18, 2010 at 3:00 p.m., before the Honorable Robert J. Jonker,

Courtroom 699, Ford Federal Building, 110 Michigan, N.W., Grand Rapids, Michigan.

       2.     Matters to be Considered at the Scheduling Conference: The purpose of the

scheduling conference is to review the joint status report and to explore methods of

expediting the disposition of the action by: establishing early and ongoing case management;

discouraging wasteful pretrial activities; establishing limitations on discovery; facilitating

the settlement of a case; establishing an early, firm trial date; and improving the quality of

the trial through thorough preparation.
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       3.     Presumptive Discloures and Discovery Limitations: Under Rules 26, 30 and

33, of the Federal Rules of Civil Procedure, the Court normally requires the following in the

absence of good cause for deviation:

              (a)    All Rule 26(a) disclosures will apply. Rule 26(a)(1) and Rule

       26(a)(2) disclosures will be required before the end of discovery. Rule

       26(a)(3) pretrial disclosures will apply and, in addition, the Court will require

       a preliminary lay witness disclosure during the discovery period. Rule 26(e)

       applies and governs the duty to supplement disclosures and discovery

       responses.

              (b)    Interrogatories will be limited to 25 per side and depositions will

       be limited to 10 per side, each of no more than 7 hours duration.

Rule 37 sanctions apply to disclosures and discovery responses, including inadequate

supplementation of original disclosures and responses.

              The court normally allows six months for discovery, but will consider a shorter

or longer period at the scheduling conference.

       4.     Meeting of Parties and Preparation of Joint Status Report: At least seven days

before the Rule 16 conference, counsel (or unrepresented parties) shall meet to discuss the

following: the nature and basis of the parties' claims and defenses, the possibilities for a

prompt settlement or resolution of the case, the formulation of a discovery plan, and the other

topics listed below. Plaintiff shall be responsible for scheduling the meeting, which may be

conducted in person or by telephone. After the meeting, the parties shall prepare a joint

status report which must be e-filed at least three (3) business days prior to the

conference. The following form shall be used:



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       A Rule 16 Scheduling Conference is scheduled for __________, before
       the Hon. _____________________. Appearing for the parties as
       counsel will be:

             (List the counsel who will attend the scheduling
             conference. Counsel for all parties must attend.
             Parties not represented by counsel must appear in
             person.      Parties who are represented are
             encouraged, but not required, to attend).

       (1)   Jurisdiction: The basis for the Court's jurisdiction is:

                    (Set forth a statement of the basis for the
                    Court's jurisdiction.        Indicate all
                    objections.     State whether the case
                    includes any pendent state law claims.)

       (2)   Jury or Non-Jury: This case is to be tried (before a
             jury/before the court as trier of law and fact.)

       (3)   Judicial Availability: The parties [agree] [do not agree]
             to have a United State Magistrate Judge conduct any and
             all further proceedings in the case, including trial, and to
             order the entry of final judgment. [Note to Counsel: If
             the parties consent to the jurisdiction of a magistrate
             judge, pursuant to 28 U.S.C. § 636(c), and so state in the
             Joint Status Report, an Order of Reference will be issued
             transferring the matter to the magistrate judge and
             allowing appeals to be taken to the United States Court
             of Appeals for the Sixth Circuit, in accordance with 28
             U.S.C. § 636(c) and Fed. R. Civ. P. 73 (c).]


       (4)   Geographic Transfer: The parties are advised of the
             possibility, pursuant to W.D. Mich. LCivR 3.3(h), of a
             transfer of the action to a judge located in a different city,
             on the basis of the convenience of counsel, the parties, or
             witnesses. Reassignment of the action shall be at the
             discretion of the court and shall require the consent of all
             parties and of both the transferor and transferee judge.
             The parties shall indicate whether a transfer for
             geographic convenience is warranted in this case.



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       (5)   Statement of the Case: This case involves:

                     (Set forth a brief description of the claims
                     and defenses, sufficient to acquaint the
                     Court with the general nature of the case,
                     as well as the factual and legal issues
                     requiring judicial resolution.)

       (6)   Joinder of Parties and Amendment of Pleadings: The
             parties expect to file all motions for joinder of parties to
             this action and to file all motions to amend the pleadings
             by _______________.

       (7)   Disclosures and Exchanges:

             Rule 26(a) mandates particular disclosures that
             apply on a self executing timetable in the absence
             of contrary court order. Describe in the Joint
             Status Report what the parties propose regarding
             these categories of disclosure. In addition, this
             Court will require a preliminary disclosure of
             potential lay witnesses earlier than Rule 26(a)(3)
             would otherwise require. Propose a date for this
             disclosure in the Joint Status Report. NOTE:
             Rule 26(e) provides the duty to supplement
             applicable disclosures and discovery responses.
             All parties must comply with this duty, and Rule
             37 sanctions apply.

             (i)     Fed.R.Civ.P. 26(a)(1) disclosures:
                     [Propose deadlines and describe any objections.]

             (ii)    Fed.R.Civ. P. 26(a)(2) disclosures:
                     [Propose deadlines and describe any objections.]

             (iii)   Fed.R.Civ.P. 26(a)(3) disclosures:
                     [Propose deadlines and describe any objections.]

             (iv) The parties have agreed to make available the following
             documents without the need of a formal request for production:

                     From plaintiff to defendant by _______: (describe documents)
                     From defendant to plaintiff by _______: (describe documents)
                                          -OR-
                     The parties are unable to agree on voluntary production at this
                     time.

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              (v)    Initial Disclosure of potential lay witnesses:
                     [Propose deadlines and describe any objections.]

       (8)    Discovery: The parties believe that all discovery proceedings
              can be completed by _________. The parties recommend the
              following discovery plan:

                     (As required by Fed. R. Civ. P. 26(f), set
                     forth proposed plan of discovery,
                     including subjects on which discovery may
                     be needed and whether discovery should
                     be conducted in phases or be limited to or
                     focused on certain issues. Also set forth
                     any recommendations as to limitations on
                     discovery. Limitations may include the
                     number of depositions, interrogatories, and
                     requests for admissions, or limitations on
                     the scope of discovery pending resolution
                     of dispositive motions or alternative
                     dispute resolution proceedings. State
                     whether the presumptive limits for
                     interrogatories; (Rule 33(a) (25 single part
                     questions)) and depositions (R ule
                     30(a)(2)(A) (10 depositions per side); Rule
                     30(d)(1) (one day of seven hours per
                     witness)) should be modified in this case.

       (9)    Motions: The parties anticipate that all dispositive
              motions will be filed by __________. The parties
              acknowledge that it is the policy of this Court to prohibit
              the consideration of non-dispositive discovery motions
              unless accompanied by a certification that the moving
              party has made a reasonable and good faith effort to
              reach agreement with opposing counsel on the matters
              set forth in the motion.

       (10)   Alternative Dispute Resolution: The parties recommend
              that this case be submitted to the following method(s) of
              alternative dispute resolution:

              (Set forth each party's position with respect to the
              preferred method, if any, of alternative dispute
              resolution. Methods used in this district include,
              but are not limited to, voluntary facilitative
              mediation (W.D. Mich. LCivR 16.3), early neutral
              evaluation (W.D. Mich. LCivR 16.4), and case


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                    evaluation (MCR 2.403 and W.D. Mich. LCivR
                    16.5).)

                    See       the     court’s        web       site
                    (www.miwd.uscourts.gov) for the local rules
                    regarding all forms of ADR used in this district
                    and for lists of mediators, case evaluators, and
                    arbitrators.

             (11)   Length of Trial: Counsel estimate the trial will last
                    approximately _____ days, total, allocated as follows:
                    ____ days for plaintiff’s case, ____ days for defendant’s case,
                    ____ days for other parties.

             (12)   Prospects of Settlement: The status of settlement negotiations is:

                           (Indicate persons present during
                           negotiations, progress toward settlement,
                           and issues that are obstacles to settlement.)

             (13)   Electronic Document Filing System: Counsel are reminded that Local
                    Civil Rule 5.7(a) now requires that attorneys file and serve all
                    documents electronically, by means of the Court’s CM/ECF system,
                    unless the attorney has been specifically exempted by the Court for
                    cause or a particular document is not eligible for electronic filing under
                    the rule. The Court expects all counsel to abide by the requirements of
                    this rule. Pro se parties (litigants representing themselves without the
                    assistance of a lawyer) must submit their documents to the Clerk on
                    paper, in a form complying with the requirements of the local rules.
                    Counsel opposing a pro se party must file documents electronically but
                    serve pro se parties with paper documents in the traditional manner.

             (14)   Other: Set forth any special characteristics that
                    may warrant extended discovery, accelerated
                    disposition by motion, or other factors relevant to
                    the case.

             The joint status report shall be approved by all counsel of record and by any

party who represents him or herself.
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       5.     Order of Referral: United States Magistrate Judge Hugh W. Brenneman, Jr.,

is designated to assist in the processing of this case, and is invested by the powers conferred

under 28 U.S.C. § 636(b)(1)(A).

       6.     Case Manager:       Any question concerning this Order or the scheduling

conference should be directed to Melva I. Ludge, Case Manager, at (616) 456-2327.


                                               /s/Robert J. Jonker
                                                  ROBERT J. JONKER
                                           UNITED STATES DISTRICT JUDGE
Dated: March 16, 2010




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